Case 22-10122-pmm          Doc 39      Filed 06/23/25 Entered 06/23/25 13:13:12         Desc Main
                                       Document Page 1 of 2



                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                               READING DIVISION

 In re:
                                                             Bankruptcy No. 22-10122-pmm
 Dolores L. Yenik,
       Debtor.                                               Chapter 13
 Mortgage Assets Management, LLC,
      Movant.
             v.
 Dolores L. Yenik,
           Debtor/Respondent,
 SCOTT F. WATERMAN,
          Trustee/Additional Respondent.



          ORDER GRANTING MOTION FOR RELIEF FROM AUTOMATIC STAY

          AND NOW, this 23rd           day of June , 2025, upon consideration of Mortgage Assets

Management, LLC’s Motion for Relief from Automatic Stay, pursuant to 11 U.S.C. § 362(d) any

response thereto and this Court’s finding that the collateral property is not necessary for an

effective reorganization, it is hereby

      ORDERED, that the automatic stay provisions of Section 362 of the United States
                                     modified
Bankruptcy Code are hereby unconditionally terminated with respect to Mortgage Assets

Management, LLC; and it is further

          ORDERED, that Mortgage Assets Management, LLC, its successors and/or assigns are

permitted to proceed with appropriate state court remedies against the real property located at 321

East 21st Street, Northampton, Pennsylvania 18067, including without limitation, Sheriff Sale of

the real property, and it is further



                                                                                        22-10122-pmm
                                                                                            22-021062
                                                                                                 MFR
Case 22-10122-pmm       Doc 39   Filed 06/23/25 Entered 06/23/25 13:13:12    Desc Main
                                 Document Page 2 of 2



       ORDERED that Mortgage Assets Management, LLC’s request to waive the 14-day stay

 period pursuant to Fed.R.Bankr.P. 4001(a)(4) is GRANTED.

                                                        BY THE COURT:



Date: June 23, 2025                                     ______________________________
                                                        Judge Patricia M. Mayer
                                                        U.S. Bankruptcy Court Judge




                                                                             22-10122-pmm
                                                                                 22-021062
                                                                                      MFR
